Case 3:18-cv-03429-B-BW          Document 44        Filed 04/17/19        Page 1 of 2      PageID 2712



                             IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 JAREER JASER,                                     §
                                                   §
                Plaintiff,                         §
                                                   §
 V.                                                §            No. 3:18-cv-3429-B-BN
                                                   §
 AT&T SERVICES, INC., ET AL.,                      §
                                                   §
                Defendants.                        §

                  ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
                   RECOMMENDATION OF THE MAGISTRATE JUDGE

        On April 2, 2019, United States Magistrate Judge David L. Horan made findings,

 conclusions, and a recommendation in this case that the Court should deny Plaintiff Jareer Jaser’s

 motions for leave to file a fourth-amended complaint [Dkt. Nos. 23 & 25] without prejudice to

 Jaser’s renewing a request for leave to amend his allegations only after a defendant responds to a

 version of the complaint Jaser has served on that defendant [Dkt. No. 28] (the “FCR”).

        Jaser nevertheless filed a fourth-amended complaint or motion for leave to do so on April 8,

 2019. See Dkt. No. 30. And he filed other papers regarding the need for an injunction and

 concerning his efforts to serve the defendants. See Dkt. Nos. 29, 31, 32, 33, 34, 35, 36, 39, & 40. The

 Court has reviewed these filings de novo, and, to the extent that in any of them Jaser objects to the

 FCR or a portion of the FCR, the Court finds no error and ACCEPTS the FCR and DENIES the

 motions for leave to amend [Dkt. Nos. 23 & 25].

        Further, to the extent that Jaser again moved for leave to file an amended complaint on April

 8, 2019, the Court DENIES that motion for the reasons explained in the FCR. And, to the extent

 that any of Jaser’s post-FCR filings renew his request for preliminary injunctive relief, the Court
Case 3:18-cv-03429-B-BW        Document 44        Filed 04/17/19     Page 2 of 2     PageID 2713



 DENIES that request for the reasons explained in the April 1, 2019 Order [Dkt. No. 26].

        In sum, the operative complaint remains the third-amended complaint filed March 21, 2019.

 See Dkt. No. 21. And, because several defendants have now moved to dismiss that complaint under

 Federal Rules of Civil Procedure 8, 12(b)(4), 12(b)(5), and 12(b)(6), see Dkt. Nos. 37 & 38, the

 Court ORDERS Jaser to refrain from filing further attempts to amend his claims until the Court

 rules on that motion.

        And the Court RE-REFERS this matter to Judge Horan to enter a briefing order on that

 motion and to otherwise continue to manage this action for pretrial purposes.

        SO ORDERED.

        DATE: April 17, 2019

                                             __________________________________
                                             JANE J. BOYLE
                                             UNITED STATES DISTRICT JUDGE




                                                -2-
